Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 1 of 8   PageID #: 147
                                  Exhibit E
Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 2 of 8   PageID #: 148
Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 3 of 8   PageID #: 149
Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 4 of 8   PageID #: 150
Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 5 of 8   PageID #: 151
00045-SDN Document 30-5 Filed 09/23/24 Page 6 of 8   P
Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 7 of 8   PageID #: 153
Case 2:23-cv-00045-SDN Document 30-5 Filed 09/23/24 Page 8 of 8   PageID #: 154
